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             IN THE UNITED STATES DISTRICT COURT FOR THE
                      EASTERN DISTRICT OF VIRGINIA
                            Alexandria Division
UNITED STATES OF AMERICA             :
                                     :
         v.                          : CRIMINAL NO. 1:19-CR-253-TSE
                                     :
KRISTOPHER DALLMANN,                 :
                                     :
              Defendant.             :

 MOTION TO ADOPT AND JOIN CO-DEFENDANT FELIPE GARCIA’S RESPONSE
               TO GOVERNMENT’S MOTION IN LIMINE

        COMES NOW, the Defendant, Kristopher Dallmann, by counsel, and hereby

respectfully moves this Court to adopt and join co-defendant’s Felipe Garcia’s Response (Dkt.

324).

        WHEREFORE, defendant, through counsel, respectfully asks this Court to grant this

motion.

                                                  Respectfully Submitted,
                                                  Kristopher Dallmann
                                                  By Counsel

                                                         /s/
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on June 26, 2020, I will file the foregoing pleading with the Clerk of
the Court using the CM/ECF system, which will then send a notification of such filing (NEF) to
all parties.




                                                             /s/
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